
In re: Drake, Juston (pro se); — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Calcasieu, 14th Judicial District Court Div. E, No. 6582-86; to the Court of Appeal, Third Circuit, No. 98-00205.
Denied. Untimely, repetitive and not cognizable on collateral review. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.4(A); cf. La. C.Cr.P. art. 930.4(D).
KNOLL, J., recused.
